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                                       Mary Basile Logan
                                        27 Cherry Street
                                   Lebanon, New Jersey 08833
                                   Email: Trino@trinops.com

October 7, 2024

Sent Via Email Recipient Confirmation                Sent Via Email – Recipient Confirmation
Hon. Zahid N. Quraishi                               The Honorable Michael Johnson
United States District Court                         Speaker of the House
District of New Jersey                               568 Cannon House Office Bldg.
Clarkson S. Fisher Building                          Washington, DC 20515
402 East State Street, Courtroom 4W
Trenton, New Jersey 08608

       RE:     LOGAN v. GARLAND, et al.
               Index No. 3:24-cv-00040 (ZNQ TJB)

Dear Judge Quraishi:


        I am the Plaintiff in the above-entitled action, Pro-Se. On September 19, 2024, Plaintiff
provided the attached letter of the highest concern for national security and the utmost integrity to the
Federally Protected Election Infrastructure. On October 7, 2024, before the Honorable Court through
the represented pleading, the Court will hear Plaintiff’s plea of Injunctive Relief with Permanent
Restraining Order. Plaintiff seeks final entry of this communication for the Honorable Court’s
emergent consideration in that regard.

       Plaintiff has now confirmed through appreciative open-sourced findings that MERRICK
GARLAND, LLOYD AUSTIN, WILLIAM J. BURNS, CHRISTOPHER A. WRAY, DENIS
MCDONOUGH, ALEJANDRO MAYORKAS, MARCIA FUDGE, ROBERT CALIFF, WILLIAM J.
CLINTON, HILLARY R. CLINTON, THOMAS KEAN SR., ROBERT MUELLER, JAMES
COMEY, RICHARD “DICK” CHENEY, ELIZABETH “LIZ” CHENEY, JOHN KERRY, GEORGE
W. BUSH, BARACK HUSSEIN OBAMA, LORETTA LYNCH, JAMES BAKER, ERIC HOLDER,
JOSEPH R. BIDEN, JOHN ASHCROFT, JAIME GORELICK, NANCY PELOSI, GEORGE
NORCROSS, KATHY HOCHUL, ANDREW CUOMO, LETITIA JAMES, SUSAN RICE, ADAM
SCHIFF, CHARLES “CHUCK” SCHUMER, XAVIER BECERRA, JANET YELLEN, ROD
ROSENSTEIN, HUMA ABEDIN, DEBBIE WASSERMAN SCHULTZ, BILL NELSON,
OCCIDENTAL PETROLEUM, UNITED HEALTHCARE, the DEMOCRATIC NATIONAL
COMMITTEE, the REPUBLICAN NATIONAL COMMITTEE, DEBBIE WASSERMAN
SCHULTZ; JAMES PITTINGER, LISA SELLA; CHRISTOPHER J. CHRISTIE, PHILIP D.
MURPHY, TAHESHA WAY, JUDITH PERSICHILLI, SEJAL HATHI, MATTHEW PLATKIN and
ROBERT JUNGE, hereinafter referred to as “inclusive Defendants”. Plaintiff has made application to
the Honorable Court to add LISA MONACO, MICROSOFT, BILL GATES, WARREN BUFFETT,
MIKE PENCE, CRESCENT CAPITAL, KAMALA HARRIS, MITT ROMNEY, HARVARD
ENDOWMENT, JEREMY B. BASH, DICK DURBIN, GAVIN NEWSOM, GRANT VERSTANDIG,
GRETCHEN WHITMER, co-colluders who overtly labored collectively to exact a predetermined
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outcome at the expense of Plaintiffs’ sovereign Rights as set forth below, inclusive of harms as stated
in the Injunctive Motion.

        Plaintiff’s research has continued, the findings leading to the attempted assassination of the
former President of the United States, twice over, a statement Plaintiff does not make lightly or
without provocation of prayer as to the implication of same. These emergent facts irrefutably provide
that the inclusive Defendants contrived with Vivek Ramaswamy, Elon Musk and J.D. Vance,
fabricating an insurance of capacity holding hostage of the Executive Branch by way of the
Presidency, the Vice Presidency, or both, the latter a secondary mutiny of the candidacy of Donald J.
Trump. The foregoing actions overt and covert, conspiratorial craft formulated by the inclusive
Defendants who have until present averted the Alien Registration Law, 8 U.S.C.A §451 et seq., 18
U.S.C.A. §9 et seq. as both members and sympathizers associated with BCCI, holding allegiances to
the United Arab Emirates, Pakistan and other foreign nation-states, rendered each and every inclusive
Defendant, subversives, enemy combatants.

        As to the Congressional annul record concerning BCCI, Plaintiff provides verbatim excerpt
taken from ECF Doc. 45-1, the investigative report of December, 1992.

       1. In creating BCCI as a vehicle fundamentally free of government control, Abedi developed
          in BCCI an ideal mechanism for facilitating illicit activity by others, including such
          activity by officials of many of the governments whose laws BCCI was breaking (at p. 3).
       2. BCCI's criminality included fraud by BCCI and BCCI customers involving billions of
          dollars; money laundering in Europe, Africa, Asia, and the Americas; BCCI's bribery of
          officials in most of those locations; support of terrorism, arms trafficking, and the sale of
          nuclear technologies; management of prostitution; the commission and facilitation of
          income tax evasion, smuggling, and illegal immigration; illicit purchases of banks and real
          estate; and a panoply of financial crimes limited only by the imagination of its officers and
          customers (at p. 3).
       3. Justice Department personnel in Washington, Miami and Tampa obstructed and impeded
          attempts by New York District Attorney Robert Morgenthau to obtain critical information
          concerning BCCI in 1989, 1990, and 1991, and in one case, a federal prosecutor lied to
          Morgenthau's office concerning the existence of such material. Important failures of
          cooperation continued to take place until William P. Barr became Attorney General in late
          October, 1991 (at p. 5).
       4. By early 1985, the CIA knew more about BCCI's goals and intentions concerning the U.S.
          banking system than anyone else in government, and provided that information to the U.S.
          Treasury and the Office of the Comptroller of the Currency, neither of whom had the
          responsibility for regulating the First American Bank that BCCI had taken over. The CIA
          failed to provide the critical information it had gathered to the correct users of the
          information-- the Federal Reserve and the Justice Department (at p.7).
       5. The errors made by the CIA in connection with its handling of BCCI were complicated by
          its handling of this Congressional investigation. Initial information that was provided by
          the CIA was untrue; later information that was provided was incomplete; and the Agency
          resisted providing a "full" account about its knowledge of BCCI until almost a year after
          the initial requests for the information. These experiences suggest caution in concluding
          that the information provided to date is full and complete. The relationships among former

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           CIA personnel and BCCI front men and nominees, including Kamal Adham, Abdul Khalil,
           and Mohammed Irvani, requires further investigation (at p.8).

         Plaintiff provided the 540-page investigative report to the Honorable Court on March 22,
2024, evidencing the history. Every action associated with the original investigation was subverted by
the Defendant, JOHN KERRY, the CIA and their cohorts to treason. Today, 32-years later, the
inclusive Defendants configure to the identical embodiment of actors disclosed throughout the BCCI
investigative record who have maintained a continuum of subversive activity, unimpeded. With each
consecutive Executive commencing with George H. W. Bush, WILLIAM J. CLINTON, GEORGE W.
BUSH, BARACK HUSSEIN OBAMA and JOSEPH R. BIDEN, knowingly inculcating subversive
parties, holding of no allegiance to these United States, within the 3-Branches of Government.
Plaintiff attaches ECF Doc. 45-2, p. 2, which provides specificity of numeric count of member parties
affiliated with BCCI attaching as subversives in and among “14,000,000 expatriates” who worked in
BCCI nation-states at the time of authorship, 1986; Plaintiff states that the foregoing figure has grown
exponentially in intervening period of time.

        Citing the expanse of time, their factions have expanded reach into every facet of government
including County, local and public education venues. Plaintiff makes the foregoing statement to the
Honorable Court holding first-hand knowledge, drawing on experiential events having served in
various capacity from 1997 up until the time GEORGE NORCROSS, JAMES PITTINGER, LISA
SELLA, ROBERT JUNGE and the inclusive Defendants subverted her oath of office through
unconstitutional election interference, followed by character assassination, extending to the attempt to
subvert her home by forcefully foreclosing by tax sale of her residential property, refusing tax
payment from her mortgage holder, the foregoing while harassing members of her family conducted
by the CIA, CHRISTOPHER J. CHRISTIE and strawmen; identical actions scribed in the BCCI
investigative record.

        Plaintiff has taken exceptional measures to serve the inclusive Defendants with a significant
number disclosing their culpability in alluding service, going so far as to falsify public records of
avocational venue, affirmed by 3rd party investigators. As it is believed, through sourced findings that
these same parties have a vested interest and have taken action to ensure usurpation of Plaintiff’s
sovereign Right to vote which the Federal Government, at all levels, has empowered through trickery,
deceit and warfare against Plaintiff, and insodoing, has dually imposed themselves on the United
States Constitution, the Federally Protected Election Infrastructure and the very candidate himself,
Donald John Trump; Plaintiff hereby requests the Honorable Court to stay the Federal election until
and unless Plaintiff and the Honorable Court has assurance that the foregoing unlawful trespasses be
eradicated.

        Plaintiff states the danger to the candidate, Donald J. Trump, extending to his family, cannot be
understated. Plaintiff has provided extensive proofs to the Honorable Court, taking exceptional care
to extinguish all bias, thus ensuring that as facts were disclosed and continue to be disclosed, each is
presently apart from conjecture, personal overtone of temperature and apart from any and all
influences. These proofs weighted by the actions physically having been taken which has resulted in
the death of an innocent bystander, Corey Comparatore and the critical injury to two other human
beings, David Dutch, and James Copenhaver. A subsequent assassination attempt was made in
Florida against the candidate, at his home. Plaintiff states that these that the threats made by Iran and

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other foreign nation-states, extending to include threat of nuclear armament serves to solidify the paid
actions by Defendants, JOSEPH R. BIDEN and KAMALA HARRIS, working in and among the
inclusive Defendants, illicit covert actions in the subversion of the Federal Protections of Election
Infrastructure. The inclusive Defendants, having every knowledge that they cannot secure an election
outcome through lawful election means, have facilitated insurance policies as setforth herein, to
overtly sabotage the candidacy, and forthcoming Presidency by way of a strawman in J.D. Vance with
Elon Musk and Vivek Ramaswamy as placeholders to the stated fortification of insurance in
subversion of the United States, absolutely and irrefutably apart from the Constitution and Rule of
Law. The foregoing identical, in every way, to the BCCI model and mapping. .

        The emergent facts provide that all candidates who pose a threat to the opposing force, a
composite invisible hand of the inclusive Defendants are vulnerable as much to potential physical
harm as contortion within the fold of deceit with same intent and, having evidenced itself a criminal
enterprise, to espionage and the disintegration of these United States, the 3-Branches of government
and the Constitution. Plaintiff states that the investigative integrity associated with the assassination
attempts have followed the same derelict compromise as EVERY federal investigation of EACH AND
EVERY crisis that has befallen this Nation since the time of the inclusive Defendant’s involvement
within and association with Federal authority, whether held by oath, delegation of appointment or
association.

       Plaintiff calls to the attention of the Honorable Court, Daniel’s Law and the fact that the
candidate, Donald J. Trump as well his family, share residency in New Jersey and New York; with
primary residency and voting Rights held in Florida. The New Jersey residency holds an obligation
under Daniel’s Law heightened by the historic record, assassination attempts, threats publicly stated
including specifically by persons within the body of the inclusive Defendants, and which has presently
extended to foreign leaders which Plaintiff states has been provoked by the inclusive Defendants’ and
the continued vitriol, character assassination and depraved public statements.

        The foregoing, inclusive actions, are an assault on the Constitution, the Rule of Law and the
Plaintiff’s Rights under the Federally Protected Election Infrastructure, Article II, Section 1, cl. 4, and
that of States, New Jersey and New York under Article II noting that both Governors, PHILIP
MURPHY and KATHY HOCHUL having orated provocation as have the Attorneys General,
LETITIA JAMES and MATTHEW PLATKIN. The unconstitutional voting discrimination within
State and local elections clearly evidenced and the violations to Article I powers, principally derived
from the Fourteenth and Fifteenth Amendments, relying on the Spending Clause authority under
Article 1 condition of receipt of federal funds for State or local elections on compliance of Federal
requirements. To that end, Plaintiff states, as orated by the Defendant, ALEJANDRO MAYORKAS,
the federal funds have been depleted, insolvency abounds, not merely within FEMA but across the
Federal government as facts provide.

        Plaintiff states that the Executives of these United States, Defendants JOSEPH R. BIDEN and
KAMALA HARRIS are derelict in Constitutional performance of matters of State and federal interest,
extending to human depravity, fostering continuum of harms, states of emergency and infrastructure
protections extending to include FEMA. The magnitude of impact from Helene resulting in
catastrophic harms to human beings, including death and unknown location of 100’s of sovereign
persons within the impacted States. Neither Defendant has taken corrective action, responsibility or

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movement of compassionate outreach with Plaintiff’s family residing in North Carolina having every
knowledge that basic human supplies are being turned away while the most vulnerable including those
residing in remote, mountainous or geographic areas without phone/internet or external
communication left to fend for themselves for all manner of survival.

        Plaintiff attaches as EXHIBIT 1 the petition, entitled “PETITION OF THE PEOPLE OF
THESE UNITED STATES.” The subject Petition signed by 2,110 individuals holding autonomous
sovereignty informed by the Laws of God, Natural Law, the Constitution and the Cardinal Moral
Truths, “endowed by their Creator with certain unalienable Rights, that among these are Life, Liberty,
and the Pursuit of Happiness. That to secure these Rights, Governments are instituted among Men,
deriving their just powers from the Consent of the governed.” Plaintiff states that the Cardinal Moral
Truths and those enumerated facts associated with trust usurped by the inclusive Defendants acting in
accordance with foreign interests, subversive to these United States have formed, acted and contrived
to overtly establish a criminal enterprise, defrauding the United States and every facet of
infrastructure. The wanton actions to defraud identical in every manner as the subverted BCCI
investigation, See ECF Doc. 45-1, up to and including the 3-Branches of Government, the SEC,
Federal Reserve including the Departments of Banking and Insurance industries, Bar Associations,
Universities and academic venues, private and public enterprise and the inclusive regulatory
authorities federally associated; the inclusive actions having been codified by policy, Act and
legislation through embodied script of Law intent and cumulative to fortify the manifesto of
subversion; THE CONSPIRACY TO DEFRAUD THESE UNITED STATES, TREASONOUS
SEDITIOUS TYRANNY.

        The foregoing representative actions taken by the inclusive Defendants evidence their
embodied, collective criminal enterprise, who in conspiratorial, wanton furtherance acted in
opposition of the interests of the United States and every human being among its’ populous. As
private enterprise including NGO’s extending to include Samaritan’s Purse/Reverend Franklin
Graham took immediate beneficial action in the interest of Helene victims and vulnerable populous,
these persons and entities were met with the identical vindictive affront and character assassination as
was orchestrated against Donald J. Trump and the Plaintiff throughout their constitutionally informed
service and up until the present day, further fortifying the inclusive Defendant’s insurance policies by
3rd party strawmen, no less culpable, including J.D. Vance, Vivek Ramaswamy and Elon Musk.

        The preceding statements mirror the unabated continuum of weaponized depravity up to and
including contorting the 3-Branches of government, irrevocably deforming same so as to meet with
the inclusive Defendants’ covert, subversive predetermined terminus. Plaintiff pleads with the
Honorable Court, swearing to the facts herein stated as true and factual, apart from any extraneous
influence.

       Plaintiff prays over the Honorable Court, thanking them, in advance for such emergent
consideration to affirm the Freedoms gifted by God, scribed among the Blessings of Liberty in her
common defense.

                                   CERTIFICATION OF SERVICE



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        I HEREBY CERTIFY that I filed today, Monday, October 7, 2024, at 11:00 a.m. in accordance
with Federal Rule of Civil Procedure 11, the foregoing with the Federal Clerk of the Court for the
United Stated District Court, District of New Jersey, via electronic filing, which will send notification
of such filing to all parties registered for this case, including the Defendant’s counsel via the electronic
filing system.

        Plaintiff attests to each claim herein stated and reiterates the inclusive claims, inclusive of
harms and remedy as set forth in the amended complaint and supplemental submissions with Exhibits
so accompanying as set forth in ECF 45; 45-1; 45-2; 45-3; 45-4; 45-5; 45-6; 45-7; 45-8; 45-9; 45-10;
45-11; 45-12; 45-13; 45-14; 45-15; 45-16; 45-17; 45-18; 45-19; 45-20; 45-21; 45-21; 45-22; 56; 46;
46-1; 46-2; 55; 55-1; 55-2; 55-3; 55-4; 55-5; 73; 73-1; 73-2; 73-3; 73-4; 73-5; 73-6; 73-7; 73-8; 105;
104-1; 105; 106; 106-1; 106-2; 106-3; 106.4; 107 in support of the certified statements of harm herein
and in support of the Injunctive Motion with Permanent Restraining Order.


                                                               Respectfully submitted,

                                                               /s/Mary B. Logan______
                                                               Mary Basile Logan
                                                               Plaintiff (Pro Se)

cc:    All Counsel of Record (Via ECF)
EXHIBITS:
    1. PETITION OF THE PEOPLE OF THESE UNITED STATES and inclusive executed pages.
    2. BCCI Directory of Expatriate affiliates, dated 1986.




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